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           10
                                                 UNITED STATES DISTRICT COURT
           11                                  NORTHERN DISTRICT OF CALIFORNIA
                                                    SAN FRANCISCO DIVISION
           12

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           14      IN RE: FACEBOOK, INC. CONSUMER                CASE NO. 3:18-MD-02843-VC
                   PRIVACY USER PROFILE LITIGATION,
           15                                                    DECLARATION OF MARTIE
                                                                 KUTSCHER IN SUPPORT OF
           16      This document relates to:                     FACEBOOK, INC.’S ADMINISTRATIVE
                                                                 MOTION TO FILE UNDER SEAL
           17      ALL ACTIONS

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Gibson, Dunn &           DECLARATION OF MARTIE KUTSCHER IN SUPPORT OF FACEBOOK, INC.’S ADMINISTRATIVE
Crutcher LLP
                                                 MOTION TO FILE UNDER SEAL
                                                   CASE NO. 3:18-MD-02843-VC
                        Case 3:18-md-02843-VC Document 698-1 Filed 07/02/21 Page 2 of 2


               1          I, Martie Kutscher, hereby declare as follows:
               2          1.       I am an associate at the law firm of Gibson, Dunn & Crutcher LLP, counsel of record
               3   for Facebook, Inc. (“Facebook”) in the above-captioned matter. I am a member in good standing of
               4   the State Bars of California, New Jersey, and New York. I submit this declaration in support of
               5   Facebook’s Administrative Motion to File Under Seal. I make this declaration on my own
               6   knowledge, and I would testify to the matters stated herein under oath if called upon to do so.
               7          2.       On June 28, 2021, the parties agreed that, given the timing of the three letter briefs the
               8   Court ordered the parties to submit by July 2, 2021, Facebook may file any argument and
               9   declarations in support of this sealing request within one week.
           10             3.       Attached as Exhibit 1 is a true and correct unredacted copy of FB Exhibit A to the
           11      parties’ July 2, 2021 Joint Letter Brief regarding ADI (“Letter Brief”).
           12             4.       Attached as Exhibit 2 is a true and correct redacted copy of FB Exhibit A to the
           13      Letter Brief.
           14             5.       Attached as Exhibit 3 is a true and correct unredacted copy of FB Exhibit B to the
           15      Letter Brief.
           16             6.       Attached as Exhibit 4 is a true and correct redacted copy of FB Exhibit B to the
           17      Letter Brief.
           18             7.       I declare under penalty of perjury under the laws of the United States of America that
           19      the foregoing is true and correct.
           20

           21      Executed on July 2, 2021 in Palo Alto, California.
           22

           23                                                                              /s/ Martie Kutscher
                                                                                              Martie Kutscher
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Gibson, Dunn &           DECLARATION OF MARTIE KUTSCHER IN SUPPORT OF FACEBOOK, INC.’S ADMINISTRATIVE
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